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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York



                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       December 1, 2020

BY ECF

Honorable Jed S. Rakoff
United States District Judge
Southern District of New York
New York, New York 10007

       Re:     United States v. Hamid Akhavan et al, S3 20 Cr. 188 (JSR)

Dear Judge Rakoff:

        At the Court’s direction, the Government writes regarding the Court’s authority to writ Hamid
Akhavan from state custody into federal custody in the Central District of California, as opposed to the
Southern District of New York, where charges are pending against the defendant in the above-
captioned case. Writs ad prosequendum enable federal courts to “order[] the production of a prisoner
in court for the purpose of standing trial.” Lugo v. Hudson, 785 F.3d 852, 854 (2d Cir. 2015), see
also Carbo v. United States, 81 S. Ct. 338, 340 (1961) (noting that writs ad prosequendum have
historically been issued when it was “necessary to remove a prisoner in order to prosecute him in the
proper jurisdiction wherein the offense was committed”), see also 28 U.S.C. § 2241(c)(5) (authorizing
writ when it “is necessary to bring [defendant] into court to testify or for trial”). Use of a writ ad
prosequendum to bring a defendant into the custody of another federal jurisdiction where there is no
prosecution pending against the defendant in that jurisdiction appears inconsistent with the intended
purpose of such writs. Similar to defense counsel, the Government has found no authority that
empowers federal courts to use the writ in this fashion. 1 Nevertheless, the Government has not found
any authority that indicates that the Court is without power to request that the Marshals and the BOP
hold the defendant in the Central District of California pending further order of the Court, as the




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  The authority cited by defense, which primarily addresses situations in which defendants have
already been convicted, has little bearing on the facts presented here.
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defendant has requested here.

                                           Respectfully submitted,

                                           AUDREY STRAUSS
                                           Acting United States Attorney

                                     By:          /s/
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Cc: Defense counsel (ECF)
